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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

SHARON WRIGHT AUSTIN,
et al.,

      Plaintiffs,

v.                                               Case No.: 1:21cv184-MW/GRJ

UNIVERSITY OF FLORIDA BOARD
OF TRUSTEES, et al.,

     Defendants.
__________________________________/

            ORDER DENYING PERMISSIVE INTERVENTION

      Erwin Rosenburg moves to intervene as a Plaintiff in this action. ECF No. 81.

A district court “may permit anyone to intervene who has a claim or defense that

shares with the main action a common question of law or fact.” Fed. R. Civ. P.

24(b)(1)(B). District courts have broad discretion to grant or deny permissive

intervention. Chiles v. Thornburgh, 865 F.2d 1197, 1213 (11th Cir. 1989) (citing

Sellers v. United States, 709 F.2d 1469, 1471 (11th Cir. 1983)). So much so that it

“is wholly discretionary with the court whether to allow intervention under Rule

24(b).” Worlds v. Dep’t of Health & Rehab. Servs., State of Fla., 929 F.2d 591, 595

(11th Cir. 1991) (quoting 7C C. Wright, A. Miller & M. Kane, Federal Practice and

Procedure § 1913, at 376–77 (2d ed. 1986)).
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      While Mr. Rosenburg’s proposed complaint addresses First Amendment

principles related to those raised in this case, at no point in case will this Court be

called to pass upon the constitutionality of Florida’s regulations on the practice of

law. Accordingly, the motion to intervene is DENIED without prejudice to file a

separate lawsuit. Mr. Rosenburg could potentially file his complaint as a stand-

alone lawsuit, but he cannot file it in this case.

      SO ORDERED on March 9, 2022.
                                         s/Mark E. Walker
                                         Chief United States District Judge




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